           Case 4:22-cv-05502-DMR        Document 193       Filed 09/22/23     Page 1 of 6




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17                                UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19
      COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
20    CASTAÑO; SARAH CRONK; JOSHUA
      DONOHOE; MOLIQUE FRANK; DAVID                  SAN FRANCISCO’S RESPONSE TO
21                                                   COURT’S AUGUST 24, 2023 CIVIL LAW
      MARTINEZ; TERESA SANDOVAL;                     AND MOTION MINUTE ORDER
22    NATHANIEL VAUGHN,                              (ECF NO. 180)

23           Plaintiffs,

24           vs.
                                                     Trial Date:         April 15, 2024
25    CITY AND COUNTY OF SAN
      FRANCISCO, et al.,
26
             Defendants.
27

28
      RESP. TO COURT’S AUGUST 24, 2023 ORDER                                 n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
           Case 4:22-cv-05502-DMR           Document 193        Filed 09/22/23      Page 2 of 6




 1          Defendants (“San Francisco” or “City”) provide the following response to the Court’s order

 2   requiring additional information with respect to training. (Dkt. No. 180.) On August 24, 2023, the

 3   Court held oral argument on Plaintiffs’ Motion to Enforce the Preliminary Injunction. The motion

 4   included arguments based on the Fourth and Eighth Amendment. The Court denied Plaintiffs’ motion

 5   as to the Eighth Amendment and reserved ruling on Plaintiffs’ motion as to the Fourth Amendment.

 6          The Court also ordered San Francisco to submit additional information regarding training

 7   provided by the Department of Public Works (“DPW”) and the San Francisco Police Department

 8   (“SFPD”). In response, San Francisco submits the following information, without argument.

 9   I.     Response To Questions Regarding The Department Of Public Works

10          With respect to DPW, the Court ordered San Francisco to submit declarations describing: “[1]

11   how many DPW employees interact with homeless individuals with respect to cleaning; [2] the

12   context in which they interact with homeless individuals with respect to cleaning; and [3] the training

13   they receive on the bag and tag policy, including the frequency, length and format of the training and

14   any details of any training materials.” (Dkt. No. 180.) In response, San Francisco submits declarations

15   from DPW Interim Director Carla Short and Jonathan Vaing, who is the Assistant Superintendent for

16   the Bureau of Street and Environmental Services (“BSES”).

17          In general, of the 1,800 budgeted positions at DPW, approximately 100 current active

18   employees have work responsibilities that require them to interact with homeless individuals with

19   respect to cleaning. (Short Decl. ¶¶ 6-7; Vaing Decl. ¶ 5.) Those employees work on three teams:

20   Zone, Hot Spot, and Special Projects. (Vaing Decl. ¶ 5.) These teams are part of the Bureau of Street

21   and Environmental Services (“BSES”), which is under DPW’s Operations Division.

22          Zone employees work in one of six geographic “zones” in the City (labeled A-F), and respond

23   to complaints—such as those submitted through 311—about cleaning the City’s streets and sidewalks

24   in their zone. (Vaing Decl. ¶ 12.) Zone has 84 current active employees. (Id.) The DPW employees

25   who support the Joint Field Operations (“JFO”) are part of Zone B. (Id.) The Hot Spot team is the

26   DPW arm of Healthy Streets Operation Center (“HSOC”) resolutions. (Vaing Decl. ¶ 14.) The Hot

27   Spot Team has 6 current active employees. (Id.) The Special Projects team at DPW manages the DPW

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      RESP. TO COURT’S AUGUST 24, 2023 ORDER              1                       n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
           Case 4:22-cv-05502-DMR           Document 193        Filed 09/22/23       Page 3 of 6




 1   Yard where DPW stores property that it collects and stores under the City’s bag and tag policy. (Vaing

 2   Decl. ¶ 16.) Special Projects has 10 current active employees. (Id.)

 3          DPW trains these employees on the bag and tag policy in no fewer than three ways: (1)

 4   PowerPoint presentations; (2) weekly refreshers and reminders; and (3) on-the-job correction from

 5   supervisors. (Vaing Decl. ¶ 19.) A copy of the current PowerPoint presentation is attached as Exhibit

 6   B to the Declaration of Jonathan Vaing. (Vaing Decl. ¶ 21.) This 30-minute presentation covers:

 7                      a. Circumstances in which personal items may be collected and stored (Slide 1);

 8                      b. Pre-Removal Notices (Slide 2);

 9                      c. Procedures for Retrieval of Personal Items (Slide 3);

10                      d. Flowchart of the bag and tag process as it relates to unattended items (Slide 4);

11                      e. Flowchart of scheduled encampment outreach and clean up (Slide 5);

12                      f. Explanation of items that will be discarded and not stored (Slide 6);

13                      g. Notice used in advance of HSOC resolution (Slide 7);

14                      h. Paperwork to fill out for bagged and tagged property (Slides 8-9);

15                      i. Photographs documenting the bag and tag policy (Slides 10-13); and

16                      j. Log of items bagged and tagged (Slide 14).

17          Assistant Superintendent Vaing created these materials, and has given the presentation at least

18   three times since January 2023. (Vaing Decl. ¶ 22.)

19          DPW also trains its employees on its bag and tag policy at weekly staff meetings. (Vaing Decl.

20   ¶ 23.) Supervisors attend a weekly “Sup II” meeting and bring back the information they learn at the

21   Sup II meeting to weekly meetings with their own teams, which are known as “Tailgate Meetings.”

22   (Vaing Decl. ¶¶ 24, 28.) Sup II meetings typically last 30 minutes, while Tailgate Meetings typically

23   last 30-60 minutes. (Vaing Decl. ¶¶ 25, 28.) The Sup II meeting minutes show that the City’s bag and

24   tag policy was addressed during Sup II meetings on at least the following 14 occasions between April

25   18, 2023 and September 5, 2023: April 18, 2023; April 24, 2023; May 2, 2023; May 16, 2023; May

26   23, 2023; May 30, 2023; June 6, 6023; June 13, 2023; June 20, 2023; July 5, 2023; July 11, 2023;

27   August 6, 2023; August 22, 2023; and September 5, 2023. (Vaing Decl. ¶ 27, Ex. C.) Supervisors

28   bring the same refresher information reflected in the Sup II meeting minutes back to their Tailgate
      RESP. TO COURT’S AUGUST 24, 2023 ORDER               2                       n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
           Case 4:22-cv-05502-DMR             Document 193       Filed 09/22/23     Page 4 of 6




 1   Meetings with their staff. (Vaing Decl. ¶ 29, Ex. D.) Therefore, every week there was a discussion of

 2   the bag and tag policy at the Sup II meeting there would also be a corresponding conversation about

 3   the bag and tag policy at the Tailgate Meetings.

 4          Some BSES teams also have had specific “bag and tag” trainings. These meetings have

 5   occurred routinely over the last year on at least the following occasions:

 6                      a. Zone A: On October 25, 2022 eight Zone A crew members received training on

 7                          the bag and tag policy and on January 12, 2023, 11 Zone A crew members

 8                          received training on the bag and tag policy;

 9                      b. Zone B and Graffiti Abatement: On December 1, 2022, 13 Zone B and Graffiti

10                          Abatement crew members received training on the bag and tag policy and on

11                          August 30, 2023 15 Graffiti Unit crew members received training on the bag

12                          and tag policy;

13                      c. Zone C: On January 12, 2023, eight Zone C crew members received training on

14                          the bag and tag policy;

15                      d. Zone D: On August 29, 2023, nine Zone D crew members received training on

16                          the bag and tag policy;

17                      e. Zone E: On January 10, 2023, nine Zone E crew members received training on

18                          the bag and tag policy;

19                      f. Zone F: On November 9, 2022, five Zone F crew members received training on

20                          the bag and tag policy and on December 29, 2022, five Zone F crew members

21                          received training on the bag and tag policy; and

22                      g. Hot Spots: On November 5, 2022, six Hot Spot crew members received training

23                          on the bag and tag policy.

24   (Vaing Decl. ¶ 30, Ex. E.)

25          Finally, BSES employees receive on-the-ground training related to the bag and tag policy.

26   Supervisors are often available to offer guidance in real time if an employee has questions about how

27   the policy applies in a given situation. (Vaing Decl. ¶¶ 31-33.) DPW also has a process by which

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      RESP. TO COURT’S AUGUST 24, 2023 ORDER              3                       n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
           Case 4:22-cv-05502-DMR            Document 193        Filed 09/22/23       Page 5 of 6




 1   supervisors review bag and tag paperwork from their team and offer corrective feedback and training

 2   to employees after-the-fact if they are not complying with the policy. (Id.)

 3   II.    Response To Questions Regarding The San Francisco Police Department

 4          With respect to SFPD, the Court ordered San Francisco to “file a detailed declaration

 5   specifying the number of SFPD officers who have interacted with homeless individuals in response to

 6   919 and 915 calls for service since the issuance of the preliminary injunction, including specifying

 7   how many of those officers are not part of the group of SFPD officers providing support to HSOC or

 8   JFO.” (Dkt. No. 180.) The Court also ordered San Francisco to “file a statement on whether San

 9   Francisco is willing to provide training on SFPD Bulletin 23-007 to non-HSOC/JFO SFPD officers

10   who are reasonably likely to interact with homeless individuals, and if so, what that training would

11   be.” (Dkt. No. 180.) In response, San Francisco submits declarations from SFPD Lieutenant Wayman

12   Young and Program Manager Jason Cunningham.

13          SFPD has been and continues to be willing to provide training on SFPD Department Notice

14   (DN) 23-007. As detailed in Lieutenant Young’s Supplemental Declaration, the SFPD has already sent

15   DN 23-007 to every SFPD Officer. (Young Supp. Decl. ¶ 3.) And all HSOC officers have

16   electronically signed off on it. (Young Supp. Decl. ¶ 3.) Officers who have any questions about DN

17   23-007 can ask their supervisors in “roll call” trainings. (Young Supp. Decl. ¶ 4.) “Roll-call” takes

18   place at the beginning of each shift, and allows individual supervisors to review materials, reinforce

19   skills already learned, and answer any questions officers may have about any specific subject. (Young

20   Supp. Decl. ¶ 4.) SFPD is currently developing additional training on DN 23-007 that will be delivered

21   to all officers assigned to patrol throughout the Department via “roll-call” training. (Young Supp.

22   Decl. ¶ 5.) The training may include clarifying language and potentially address common scenarios

23   that officers might encounter. (Young Supp. Decl. ¶ 5.) If DN 23-007 is superseded, the “roll-call”

24   training procedure described above will take place to train officers on the superseding notice. (Young

25   Supp. Decl. ¶ 5.)

26          SFPD also queried its systems to determine the number of its officers who interacted with

27   individuals experiencing homelessness in response to 915 and 919 calls during the period the Court’s

28   Preliminary Injunction has been in place. SFPD was able to determine that it is likely that somewhere
      RESP. TO COURT’S AUGUST 24, 2023 ORDER              4                         n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
           Case 4:22-cv-05502-DMR           Document 193        Filed 09/22/23      Page 6 of 6




 1   between 964 and 1,170 SFPD officers interacted with individuals experiencing homelessness in

 2   response to these calls during the time period the Preliminary Injunction has been in place.

 3   (Cunningham Decl. ¶ 8.) Further, within that group, it is likely that about somewhere between 899 and

 4   1,083 SFPD officers outside of those assigned to work on HSOC and JFO likely interacted with

 5   individuals experiencing homelessness. (Cunningham Decl. ¶¶ 5, 7.)

 6

 7   Dated: September 22, 2023
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18                                                  FRANCISCO DEPARTMENT OF PUBLIC WORKS;
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19                                                  HOMELESSNESS AND SUPPORTIVE HOUSING;
                                                    SAN FRANCISCO FIRE DEPARTMENT; SAN
20                                                  FRANCISCO DEPARTMENT OF EMERGENCY
                                                    MANAGEMENT
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      RESP. TO COURT’S AUGUST 24, 2023 ORDER              5                       n:\govlit\li2022\230239\01707096.docx
      CASE NO. 4:22-cv-05502-DMR
